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   Wells Fargo Bank, N.A.
13

14                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
15                                   OAKLAND DIVISION
16

17 VANA FOWLER, individually and on                   CASE NO. 4:17-cv-02092-HSG
   behalf of all others similarly situated,
18                                                    NOTICE OF SETTLEMENT AND
                   Plaintiff,                         STIPULATION TO EXTEND STAY OF
19                                                    CASE DEADLINES AND [PROPOSED]
           vs.                                        ORDER
20
   WELLS FARGO BANK, N.A.,
21                                                    The Hon. Haywood S. Gilliam, Jr.
                   Defendant.
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             NOTICE OF SETTLEMENT AND JOINT STIPULATION FOR STAY OF CASE DEADLINES
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 1          Pursuant to Civil Local Rules 6-2 and 7-12, Plaintiff Vana Fowler and Defendant Wells

 2 Fargo Bank, N.A., hereby stipulate through their respective counsel of record as follows:
          WHEREAS, on November 17, 2017, the Court issued an Order staying the case pending
 3
   mediation on January 15, 2018 (“Stay Order”) [D.E. 57];
 4
          WHEREAS, the Parties mediated this case before Hon. Daniel Weinstein (Ret.) on January
 5
   15, 2018;
 6        WHEREAS, the Parties did not fully resolve the case at mediation, but made sufficient
 7 progress that they requested an extension of the stay to continue settlement negotiations and the

 8 Court extended the stay through March 26, 2018 pursuant to the Parties’ stipulation [D.E. 69];

 9          WHEREAS, the Parties notify the Court that they have reached a tentative agreement to
     settle the case on a classwide basis, subject to documentation;
10
            WHEREAS, the Parties are in the process of drafting settlement documentation and
11
     associated pleadings and expect to be in position to file a motion for preliminary approval of the
12 settlement by May 10, 2018, including a proposed schedule for other settlement-related filings,

13 hearings, and notices;

14          NOW THEREFORE the parties through their undersigned counsel hereby stipulate to, and

15 respectfully request the Court to order, that the stay of case deadlines be extended pending the
   Court’s consideration of the settlement agreement under Federal Rule 23.
16
           IT IS SO STIPULATED.
17
   DATED: March 26, 2018
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20 /s/ Adam L. Hoipkemier______________              /s/ K. Issac deVyver
   Adam L. Hoipkemier                                K. Issac deVyver
21 Epps Holloway DeLoach & Hoipkemier LLP            McGuireWoods LLP
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                                                     Counsel for Defendant Wells Fargo Bank, N.A.
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27 Counsel for Plaintiff Vana Fowler

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                                                      1
              NOTICE OF SETTLEMENT AND JOINT STIPULATION FOR STAY OF CASE DEADLINES
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 1          PURSUANT TO STIPULATION, IT IS SO ORDERED.

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 4 Dated:
                                           Honorable Haywood S. Gilliam, Jr.
 5                                         United States District Judge

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             NOTICE OF SETTLEMENT AND JOINT STIPULATION FOR STAY OF CASE DEADLINES
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 1                                          ATTESTATION

 2          I, Adam L. Hoipkemier, am the ECF user whose identification and password are being used

 3 to file this Notice of Settlement and Stipulation to Extend Stay of Case Deadlines and [Proposed]

 4 Order. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that Issac K. DeVyvver concurs

 5 in this filing.

 6

 7 DATED: March 26, 2018

 8                                               By: /s/ Adam L. Hoipkemier
                                                         Adam L. Hoipkemier
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              NOTICE OF SETTLEMENT AND JOINT STIPULATION FOR STAY OF CASE DEADLINES
